Case: 1:17-cr-00096-SL Doc #: 109 Filed: 08/22/17 1 of 2. PageID #: 331




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


UNITED STATES OF AMERICA,                      )      CASE No. 1:17CR96 (#6)
                                               )
               Plaintiff,                      )      JUDGE SARA LIOI
                                               )      Magistrate Judge George J. Limbert
       v.                                      )
                                               )
NANCY RHODES,                                  )      REPORT AND RECOMMENDATION
                                               )      OF MAGISTRATE JUDGE
               Defendant.                      )


       Pursuant to General Order 99-49, this case was referred on August 11, 2017, to United States

Magistrate Judge George J. Limbert for the purposes of receiving, on consent of the parties,

Defendant Nancy Rhodes’ proffer of a plea of guilty, conducting the colloquy prescribed by Fed. R.

Crim. P. 11, causing a verbatim record of the proceedings to be prepared, conducting a presentence

investigation, and submitting a Magistrate Judge’s Report and Recommendation stating whether the

plea should be accepted and a finding of guilty entered. ECF Dkt. #93. The following, along with

the transcript or other record of the proceedings submitted herewith, constitutes the Magistrate

Judge’s Report and Recommendation concerning the plea of guilty proffered by Defendant Rhodes.

       1.      On August 22, 2017, Defendant Nancy Rhodes, accompanied by Attorney Lawrence

L. Delino, Jr., executed a consent to referral of her case to a United States Magistrate Judge for the

purpose of receiving her guilty plea.

       2.      Defendant Rhodes then proffered a plea of guilty to Count One of the Indictment.

       3.      Prior to such proffer, Defendant Rhodes was examined as to her competency, advised

of the charges and consequences of conviction, informed that the Court is not bound to apply the

Federal Sentencing Guidelines but must consult the guidelines and take them into consideration when
Case: 1:17-cr-00096-SL Doc #: 109 Filed: 08/22/17 2 of 2. PageID #: 332



it imposes the sentence and of the possibility of a departure from the Guidelines, notified of her

rights, advised that she was waiving all of her rights except the right to counsel, and, if such were the

case, her right to appeal, and otherwise provided with the information prescribed in Fed. Crim. R. 11.



        4.      The undersigned was advised that a written plea agreement existed between the

parties, and no other commitments or promises have been made by any party, and no other written

or unwritten agreements have been made between the parties.

        5.      The undersigned questioned Defendant Rhodes under oath about the knowing,

intelligent, and voluntary nature of the plea of guilty, and the undersigned believes that Defendant

Rhodes’ plea was offered knowingly, intelligently, and voluntarily.

        6.      The parties provided the undersigned with sufficient information about the charged

offenses and Defendant Rhodes’ conduct to establish a factual basis for the plea.

        In light of the foregoing, and the record submitted herewith, the undersigned concludes that

Defendant Rhodes’ plea was knowing, intelligent, and voluntary, and all requirements imposed by

the United States Constitution and Fed. R. Crim. P. 11 have been satisfied.

        Accordingly, the undersigned recommends that the plea of guilty be accepted and a finding

of guilty be entered by the Court as to Count One of the Indictment.


Date: August 22, 2017                                   /s/George J. Limbert
                                                        George J. Limbert
                                                        United States Magistrate Judge


        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of
Court within fourteen (14) days of service of this notice. Fed. R. Crim. P. 59. Failure to file
objections within the specified time constitutes a WAIVER of the right to appeal the Magistrate
Judge’s recommendation.



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